                SIXTH DISTRICT COURT OF APPEAL
                       STATE OF FLORIDA
                      _____________________________

                           Case No. 6D2023-2338
                     Lower Tribunal No. CF22-005796-XX
                      _____________________________

                            DAVID ROBERT AHRENS,

                                  Appellant,

                                       v.
                              STATE OF FLORIDA,

                                   Appellee.

                      _____________________________

                 Appeal from the Circuit Court for Polk County.
                            Melissa Gravitt, Judge.

                               August 27, 2024

PER CURIAM.

      AFFIRMED.

WHITE, MIZE and GANNAM, JJ., concur.


Howard L. “Rex” Dimmig, II, Public Defender, and Robert D. Rosen, Assistant
Public Defender, Bartow, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and William C. Shelhart, Assistant
Attorney General, Tampa, for Appellee.


 NOT FINAL UNTIL TIME EXPIRES TO FILE MOTION FOR REHEARING
          AND DISPOSITION THEREOF IF TIMELY FILED
